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and Huamei Consulting Co., Inc. LT

UNITED STATES DISTRICTCOURT - 1“: -
CRNTRAL DISTRICT OF CALIFORNIA ~— WESTERN DIVISION’? "|:

 

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HARMONI INTERNATIONAL SPICE, | CASE NO: 2:16-cv-00614
INC,, a California corporation and ce re
ZHENGZHOU HARMONI SPICE CO., —_| Honorable Beverly Reid O’Connell*

LTD., a corporation, . a af
ainti _| DECLARATION OF STANLEY: |. |

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WENZUAN BAI, an individual, JICHENG |
YE, an individual, RUOPENG WANG, an
individual, ROBERT T. HUME, an
individual, JOEY C. MONTOYA, an
individual, STANLEY CRAWFORD, an
udividual, AVRUM KATZ, an individual,
HUAMEI CONSULTING CO., INC.,.a
corporation, KWO LEE, INC., a California 2
corporation, SHUZHANG LI, an individual, | | _
C. AGRICULTURE GROUP CORP.,
corporation, HEIBEI GOLDEN BIRD
TRADING CO., LTD., a corporation,
QINGDAO TIANTAIXING FOODS, CO.,
CTD. a corporation, JINXIANGIIEJIA -
CO., LTD., a corporation, QINGDAO
LIANGHE INTERNATIONAL TRADING
CO., LTD., a corporation, CHEN |
HONGXIA, an individual, JIN XIA WEN,
an individual, MINGJU XU, an individual, |
CAI DU, an individual, QINGHUI ZHANG,
an individual, LUCY WANG, an individual,

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Defendants. |

 

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DECLARATION OF STANLEY CRAWFORD
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DECLARATION OF STANLEY CRAWFORD

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3] - I, Stanley Crawford, hereby declare and state as follows:

4 1. Lama party to this action. The facts attested below are known to me of my
5

own personal knowledge and if called upon to testify regarding them, J could and would

6 || competently do so,
7 2, 1amanamed party in the within action, filed m the United States District
8 | Court, Central District of California, although I have no connection to or contact with the
9|| State of California.
10 3, Lama garlic farmer, residing and working solely in the State of New Mexico.

11] While I have lived in California in the past, I have not lived there since 1968.

12 4, Some of the garlic I produce is sold in the Santa Fe Farmer’s Market. I cannot

13 || guarantee that a no purchaser of my garlic has ever transported the garlic, post sale, to

14] California, but I aim not aware of that ever happening.

15 —  §, I also offer garlic for sale online, and through such sales, I am able to see
16 || where the garlic is being shipped. I am unaware of having ever shipped garlic to California.
17 6. Lam atso an author, and my books arc available for purchase onlinc and in

1811 book stores. Some of my books have undoubtedly been sold to persons in California, but

19 || my books are not the subject of this lawsuit.
I declare, under penalty of perjury under the laws ofthe State of Califomia and the

 

 

20
4111 United States, that the foregoing is true and correct.
22 Executed this 7” day of March, 2016 at Dixen, cw Mexico
3 a Pe
24. _ Stanley Crawford
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28}. DECLARATION OF STANLEY CRAWFORD

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